                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA



 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:12-cr-143
 v.                                                   )
                                                      )       COLLIER / LEE
 DEVERIA MCCALL                                       )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the seven-count

 Superseding Indictment; (2) accept Defendant’s plea of guilty to Count One of the Superseding

 Indictment; (3) adjudicate Defendant guilty of the charges set forth in Count One of the Superseding

 Indictment; (4) defer a decision on whether to accept the plea agreement until sentencing; and

 (5) find Defendant shall remain in custody until sentencing in this matter (Court File No. 224).

 Neither party filed a timely objection to the report and recommendation. After reviewing the record,

 the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Court File No. 224)

 pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Superseding

                Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Superseding Indictment is

                ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

                Superseding Indictment;




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       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, November 7, 2013 at 9:00 a.m. before the

             Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                            /s/
                                            CURTIS L. COLLIER
                                            UNITED STATES DISTRICT JUDGE




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